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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                )
                                         )
             Plaintiff,                  )
                                         )
v.                                       )
                                         )      Case No. CR-22-40-D
WILLIAM SHAWN KAYS,                      )
                                         )
             Defendant.                  )

                                        ORDER

      In light of the Supreme Court’s decision in New York State Rifle & Pistol Ass'n, Inc.

v. Bruen, No. 20-843, 2022 WL 2251305 (June 23, 2022), the Court finds supplemental

briefing would be helpful concerning Defendant’s Motion to Declare 18 U.S.C. § 922(g)(8)

and § 922(n) Unconstitutional Under the Second Amendment and to Dismiss the

Superseding Indictment [Doc. No. 52]. The parties should specifically address whether

New York State Rifle & Pistol Ass'n changes how the Court should analyze Defendant’s

Second Amendment challenges.

      IT IS THEREFORE ORDERED that Defendant may submit a supplemental brief

within 14 days of this Order, to which the government may respond within 14 days.

      IT IS SO ORDERED this 24th day of June, 2022.
